                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                       Case No. 17-52483

PACKARD SQUARE LLC,                                          Chapter 11

            Debtor.                                          Judge Thomas J. Tucker
_____________________________/

                OPINION REGARDING DEBTOR’S TURNOVER MOTION
                    AND SECURED CREDITOR’S CROSS-MOTION

I. Introduction

         This Chapter 11 case is before the Court on two competing motions: (1) the Debtor’s

motion entitled “First Day Emergency Motion for Order Directing Receiver to Turn Over All

Property to Chapter 11 Debtor-in-Possession and Related Relief” (Docket # 8, the “Turnover

Motion”); and (2) the motion filed by Debtor’s pre-petition secured lender, CAN IV Packard

Square LLC (“Canyon”), entitled “CAN IV Packard Square LLC’S Emergency Cross-Motion To:

(1) Excuse Receiver from Turnover Provisions; and (2) Suspend the Bankruptcy Case” (Docket

# 28, “Canyon’s Cross-Motion”).

         In the Turnover Motion, the Debtor seeks an order under 11 U.S.C. § 543(b), requiring a

state-court appointed receiver, who has been in place for over 10 months, to turn over all of the

Debtor’s property to the Debtor, and to file an accounting of the type described in § 543(b)(2).

In Canyon’s Cross-Motion, Canyon seeks an order under 11 U.S.C. § 543(d)(1), excusing the

receiver from complying with the turnover and accounting provisions of § 543(b). Relatedly,

Canyon also seeks an order under 11 U.S.C. §§ 305(a)(1) and 105(a), “suspending” this

bankruptcy case.

         The Debtor and Canyon each oppose the other’s motion. And as detailed further in Part




  17-52483-tjt     Doc 144     Filed 10/13/17    Entered 10/13/17 17:03:44        Page 1 of 25
IV of this opinion, several parties in interest have taken a position on these motions, with some

supporting the Debtor’s position and some supporting Canyon’s position. The Court held a

lengthy hearing on these motions on September 13, 2017.

       Also on September 13, 2017, the Court held a hearing on a motion by the Debtor for

approval of post-petition financing, entitled “First Day Emergency Motion of the Debtor for

Entry of Interim and Final Orders (I) Authorizing Debtor to Obtain Post-Petition Financing, (II)

Scheduling a Final Hearing, and (III) Granting Certain Related Relief” (Docket # 13, the “DIP

Financing Motion”). The Court then held an evidentiary hearing on the DIP Financing Motion,

on September 19 and 20, 2017. Today the Court has filed a separate written opinion regarding

that motion. For the reasons explained in that opinion, the Court has just entered an order

denying the DIP Financing Motion.

       For the reasons stated in this opinion, the Court will deny the Debtor’s Turnover Motion,

grant Canyon’s Cross-Motion, and dismiss this bankruptcy case.

II. Jurisdiction

       This Court has subject matter jurisdiction over this bankruptcy case and these contested

matters under 28 U.S.C. §§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.).

This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A), 157(b)(2)(E), and 157(b)(2)(O).

       This proceeding also is “core” because it falls within the definition of a proceeding

“arising under title 11” and of a proceeding “arising in” a case under title 11, within the meaning

of 28 U.S.C. § 1334(b). Matters falling within either of these categories in § 1334(b) are deemed

to be core proceedings. See Allard v. Coenen (In re Trans–Industries, Inc.), 419 B.R. 21, 27

(Bankr. E.D. Mich. 2009). This is a proceeding “arising under title 11” because it is “created or


                                                 2



  17-52483-tjt     Doc 144     Filed 10/13/17     Entered 10/13/17 17:03:44        Page 2 of 25
determined by a statutory provision of title 11,” see id., including Bankruptcy Code §§ 543 and

305(a)(1). And this is a proceeding “arising in” a case under title 11, because it is a proceeding

that “by [its] very nature, could arise only in bankruptcy cases.” See id. at 27.

III. Background

       In its opinion filed today regarding the Debtor’s DIP Financing Motion, the Court

described at length the background and events leading to the Debtor’s bankruptcy filing.

Because that background also is relevant to the motions discussed in this opinion, the Court will

quote at length from the “Background” section of its other opinion. (The following quotation

omits all of the many record citations and the footnotes containing them):

               A. The Construction Loan

                       Pre-petition, in October 2014, the Debtor obtained a
               construction loan from Canyon in the maximum principal amount
               of $53,783,184,00 (the “Construction Loan”) to finance the
               construction of “a 360,000 square foot mixed-use development
               [project] on a six and a half acre site on Packard Street in Ann
               Arbor, Michigan,” including “249 residential units with high-end
               amenities, nearly 30,000 square feet of retail space and over 450
               parking space[s] including an underground parking garage” (the
               “Project”). The Debtor signed a promissory note, and other loan
               documents, and granted Canyon a mortgage on the real property of
               the Project “together with the related easements, privileges and
               licenses, and the buildings, structures, improvements, fixtures and
               personal property located [on it]” to secure the Debtor’s
               indebtedness for the Construction Loan. The Debtor also executed
               an assignment of leases and rents in favor of Canyon.

               B. The appointment of a receiver in the state court suit

                       On October 21, 2016, Canyon filed suit against the Debtor
               in Washtenaw County Circuit Court, in the case of CAN IV
               Packard Square LLC v. Packard Square, LLC, et al., Case No.
               16-000990 CB (the “state court case”). In its verified complaint in
               the state court case, Canyon requested the appointment of a


                                                  3



  17-52483-tjt     Doc 144     Filed 10/13/17      Entered 10/13/17 17:03:44        Page 3 of 25
           receiver over the property securing its debt, due to the Debtor’s
           alleged failure “to fulfill its obligations to complete construction of
           improvements for which funds were provided in accordance with
           the relevant loan agreements” and “to maintain the [p]roperty is a
           suitable condition.” Canyon also sought foreclosure of its
           mortgage in the state court complaint.

                    On October 27, 2016, the state court held a hearing in
           which it heard oral argument regarding the appointment of a
           receiver. Counsel for Canyon and counsel for the Debtor both
           appeared at the hearing and argued their respective positions at
           length, for and against the appointment of a receiver. During the
           hearing, Canyon alleged, in relevant part, that there had been
           multiple material defaults by the Debtor, in the form of missing
           critical construction milestone dates under the terms of the
           Construction Loan and the mortgage, despite Canyon having
           granted some extensions of those dates. Canyon alleged that,
           among other defaults, the Debtor had defaulted by missing the
           “substantial completion date which was October 25[, 2016],” and
           that the Debtor had defaulted on its obligation to enclose the
           building of the Project by July 1, 2016, which was “a critically
           important aspect of the [construction] schedule” to avoid damage
           to the building, from the inclement weather that had already
           occurred and that would be getting worse due to the approaching
           winter season. Canyon alleged that although it had worked with
           the Debtor and extended the original contractually-agreed date of
           July 1, 2016 to August 26, 2017, the Debtor had also defaulted on
           its promise to enclose the building by the extended date.
           According to Canyon, that default still had not been cured, and the
           building was “still open and exposed to the elements” at the time
           of the hearing. Canyon also alleged that Gaylor Electric Inc. d/b/a
           Gaylor, Inc. (“Gaylor”) and Jermor Plumbing & Heating, Inc.
           (“Jermor”), two subcontractors who had worked on the Project but
           had not been paid, had recorded construction liens against the
           property subject to its mortgage, and that more liens would soon be
           filed based on the Debtor’s firing of Quandel Construction Group,
           Inc. (“Quandel”), the former general contractor for the Project.
           Canyon informed the Court that due to the Debtor’s defaults, it had
           accelerated the promissory note and so the promissory note was
           due and owing in full. Canyon argued that “under either the
           [parties’] contract or the Construction Lien Act, the [c]ourt was
           authorized to appoint a receiver under the current existing
           circumstances” because the Project was only partially completed;


                                              4



17-52483-tjt   Doc 144     Filed 10/13/17     Entered 10/13/17 17:03:44          Page 4 of 25
           the Debtor had defaulted on its obligations under its contract with
           Canyon; and the building was not enclosed and at risk of being
           damaged.

                   The Debtor argued that although there had been “technical
           defaults” due to missed construction milestone dates, the Debtor
           was entitled to an extension of the construction milestone dates of
           “up to 150 days” due to the force majeure clause in the parties’
           loan agreement. Debtor also argued that the “fundamental
           equities” of the case favored denying Canyon’s request for the
           appointment of a receiver.

                   At the conclusion of the hearing, the state court gave a
           bench opinion in which it rejected the Debtor’s arguments and
           ruled that it would “appoint McKinley, Incorporated [“McKinley”]
           as receiver for the [P]roject and that that [would] be done
           immediately.” On November 1, 2006, the state court entered an
           order appointing McKinley as the receiver (the “Receivership
           Order”).

                  In the Receivership Order, the state court made the
           following findings, among others:

                          C. [Debtor] has defaulted in the
                          performance of its obligations under
                          the Loan Documents identified and
                          defined in the Complaint and
                          [Canyon] has provided notice of such
                          default.

                          D. Further, [Debtor] has failed or
                          refused to pay necessary and
                          immediate expenses to preserve and
                          protect the Property, all of which
                          constitutes waste and which
                          jeopardizes the security interest of
                          [Canyon] and other parties having an
                          interest in the Property. In this
                          circumstance, MCL 600.2927 as well
                          as the provisions of the Loan
                          Documents authorize this Court to
                          appoint a receiver.



                                            5



17-52483-tjt   Doc 144    Filed 10/13/17     Entered 10/13/17 17:03:44           Page 5 of 25
                          E. Additionally, the requirements
                          under MCL 570.1122(1) are met in
                          this case, namely:

                          (I) The improvements and construction to
                          the Property are incomplete;

                          (ii) The Indebtedness due [Canyon] secured
                          by the Mortgage is in default, and, therefore,
                          the Mortgage is in default; and

                          (iii) [Canyon], the mortgagee, is likely to
                          sustain substantial loss, if the improvements
                          to the Property are not completed.

           C. Terms of the Receivership Order, and the receivership loan

                   At the time of the Receiver’s appointment, the Debtor
           estimates that the Project was about 65% complete. Canyon
           presented credible evidence, however, that at that time the Project
           was only about 50% completed, and needed reworking of some of
           the work that had been done. In any case, the Receivership Order
           gave the Receiver broad authority over the Debtor’s property and
           the Project, the purpose of which was “to protect the interests of all
           interested parties in the Property.” The Order gave the Receiver
           authority and direction not only to protect and preserve the
           Property, but also to complete construction of the Project:

                          [T]he Receiver is authorized and
                          directed to take immediate
                          possession and full control of the
                          Receivership Property and to take
                          any and all necessary and appropriate
                          action to effectuate his possession
                          and sole control over same in order
                          to prevent waste and to preserve,
                          secure, safeguard, winterize and
                          complete construction of the
                          Receivership Property.

                  To this end, the Receivership Order authorized the Receiver
           to “immediately enter into a loan agreement with [Canyon] to
           borrow funds to winterize, safeguard, and complete construction of


                                             6



17-52483-tjt   Doc 144    Filed 10/13/17      Entered 10/13/17 17:03:44         Page 6 of 25
           the Receivership Property and to lease and potentially sell such
           property, in accord with the terms of MCL 570.1122, et seq.” The
           Order authorized the Receiver to borrow up to $19.7 million from
           Canyon “to, among other things, winterize, safeguard and complete
           construction of the Receivership Property.” Such loan was to be
           “subject to terms acceptable to [Canyon] and upon the approval of
           the Court,” and was to be secured by a “super priority” lien, “senior
           to all other liens,” on the Receivership Property.

                   Shortly after its appointment, the Receiver and Canyon
           jointly sought the state court’s approval of proposed loan
           documents for the Receivership Loan. The Debtor objected, and
           the state court held a hearing on November 17, 2016, during which
           the court heard arguments and then granted the joint motion to
           approve the loan documents. Thereafter, the Receiver and Canyon
           entered into the Receivership Loan, in a loan agreement dated as of
           November 22, 2016 and related documents.

           D. Pre-petition activity under the state court receivership

                    During the more than 10-month period after the state court
           appointed the Receiver and before the Debtor filed this bankruptcy
           case, there was considerable activity on the Project by the Receiver
           and its chosen general contractor on the project, O’Brien
           Construction Company, Inc. And there was a great deal of
           litigation in the state court case, between the Debtor and some of
           the construction lien holders on the one hand, and the Receiver and
           Canyon on the other hand.

                   The state court case has been contentious. For example,
           almost immediately after appointment of the Receiver, the Debtor
           appealed the Receivership appointment and sought a stay pending
           appeal. The Debtor also sought an order requiring the Receiver to
           use the Debtor’s preferred general contractor at the time, C.E.
           Gleeson Constructors, Inc., in place of the Receiver’s chosen
           contractor O’Brien. [Footnote: Quandel Construction Group, Inc.
           had been the Debtor’s general contractor on the Project, but
           disputes between the Debtor and Quandel led the Debtor to
           terminate Quandel, effective October 17, 2016.] The state court
           heard these motions on November 17, 2016, and denied them. The
           Debtor then filed a motion for reconsideration of the Receivership
           order on December 8, 2016, which the state court denied on
           December 19, 2016. The Debtor appealed the Receivership order


                                            7



17-52483-tjt   Doc 144    Filed 10/13/17     Entered 10/13/17 17:03:44        Page 7 of 25
               to the Michigan Court of Appeals, where the appeal remains
               pending. The Debtor thereafter filed various oppositions and/or
               objections against the Receiver in the state court. The state court
               litigation has also included various motions and objections filed by
               some of the creditors claiming construction liens predating the
               receivership. This includes motions by Gaylor Electric, Inc.
               (“Gaylor”) and Quandel seeking relief from, and amendment of,
               the Receivership Order, a motion by Gaylor for leave to file a
               complaint against the Receiver for claimed breaches of fiduciary
               duty, and objections by Gaylor and Quandel to reports of the
               Receiver. [Footnote: The motions by Gaylor and Quandel were
               concurred in by two other construction lien claimants, Amthor
               Steel and Zeeland Lumber and Supply Co.] These matters were
               heard by the state court on June 22, 2017, and the Gaylor and
               Quandel motions were denied and their objections were overruled.

                       Most recently in the state court case, on August 31, 2017,
               the Receiver and Canyon filed a joint motion seeking to increase
               the total amount of the Receivership Loan that the Receiver is
               authorized to borrow, in order to complete the Project. In round
               numbers, the motion sought to increase the maximum borrowing
               amount from the original maximum of $19.7 million (approved in
               November 2016) to $37.5 million, an increase of $17.8 million.
               The motion alleged, among other things, that: (1) “[s]ince entry of
               the Receivership Order, the Receiver has dutifully executed his
               obligations and has taken all necessary steps to complete the
               Project,” and to date, had incurred costs of $8.9 million; (2) the
               remaining undrawn amount of the original $19.7 million
               Receivership Loan was insufficient to complete construction of the
               Project; (3) the original $19.7 million loan authorization had been
               based on the Debtor’s budget, which had proven inadequate and
               unrealistic; and (4) the costs to complete the Project were
               significantly higher because of deficient work done by the Debtor
               and other specified problems caused by the Debtor.

                      The joint motion was noticed for a hearing that was to have
               occurred in the state court on September 7, 2017. The hearing did
               not occur, however, because the Debtor filed this bankruptcy case
               two days before the hearing.1

IV. Proceedings on the motions in this bankruptcy case


      1
          Opinion Regarding Debtor’s Post-Petition Financing Motion (Docket # 142) at 2-10.

                                                  8



 17-52483-tjt      Doc 144     Filed 10/13/17     Entered 10/13/17 17:03:44         Page 8 of 25
        The Debtor filed a voluntary petition for relief under Chapter 11 commencing this case on

September 5, 2017. This was more than 10 months after the state court appointed the Receiver.

        As noted in Part I of this opinion, several parties in interest other than the Debtor and

Canyon have taken a position on the Turnover Motion and Canyon’s Cross-Motion. Prior to the

September 13, 2017 hearing on the motions, the following parties filed timely written responses

that supported the Debtor’s position.2 All of these are creditors who claim to have a construction

lien for work/labor done or materials provided for the Project before the Receiver was appointed:

        • Quandel Construction Group, Inc. (“Quandel”)

        • Gaylor Electric, Inc. (“Gaylor”)

        • Zeeland Lumber & Supply Co.

        • E.L. Painting Co.

        • Amthor Steel

The following parties filed timely written responses that supported Canyon’s position.3 With the

exception of the first of these parties listed below, these parties consist of the Receiver, the

Receiver’s general contractor, and subcontractors working with the Receiver’s general

contractor:

        • Georgetown of Ann Arbor Condominium Association

        • Solar Contract Carpet, Inc.

        • Starkey’s Construction, Inc.


        2
           The written responses of these parties, to one or both of the motions, are on file at Docket
## 47, 54, 55, 56, 62, 63, 79, 83, and 88.
        3
          The written responses of these parties, to one or both of the motions, are on file at Docket
## 40, 43, 71, 74, 76, 77, and 82.

                                                     9



  17-52483-tjt      Doc 144      Filed 10/13/17       Entered 10/13/17 17:03:44           Page 9 of 25
        • McKinley, Inc. (the state court Receiver)

        • O’Brien Construction Co. (the state court Receiver’s general contractor)

        • Wolff Networks, LLC

        During the September 13, 2017 hearing, the Court heard oral argument from the Debtor,

Canyon, and all of the parties listed above except Solar Contract Carpet, Inc. and Starkey’s

Construction, Inc., who did not appear at the hearing.4

        In addition, while the United States Trustee did not file a written response to the motions,

he did appear at the hearing, through counsel. The United States Trustee took no position as to

whether the Court should excuse the Receiver from the § 543(b) turnover obligation, but argued

that if the Court does excuse such turnover, the Court should either dismiss this case or convert

this case to Chapter 7, rather than suspending the case, because suspension is “not going to work

in this case.” (As to the question of suspension versus dismissal under § 305(a)(1), Canyon’s

Cross-Motion requested suspension. But Canyon’s counsel had stated earlier during the hearing

that if the Court decides to excuse turnover by the Receiver, and decides to abstain under

§ 305(a)(1), Canyon seeks dismissal or suspension.)

        Confirming action taken during the hearing, the Court entered an order on September 14,

2017 which, in relevant part, required Canyon, no later than September 18, 2017, to:

                file, as supplemental exhibits regarding the Motions, all of the
                following:

                a. the current docket sheet for the state court receivership case
                (CAN IV Packard Square LLC v. Packard Square, LLC, et al.,


       4
          The Court also heard from counsel for the law firm Kitch Drutchas Wagner Valittuti &
Sherbrook, an unsecured creditor who did not file a written response to the motions, but who expressed
support for the Debtor’s position.

                                                  10



 17-52483-tjt     Doc 144      Filed 10/13/17      Entered 10/13/17 17:03:44          Page 10 of 25
                 Case No. 16-000990 CB (Washtenaw County Circuit Court) (the
                 “state court case”);

                 b. a transcript of every hearing held in the state court case (except
                 for the transcript of the October 27, 2016 hearing, which is already
                 filed in this case, at Docket # 28, Exhibit B); and

                 c. a copy of the motions filed in May or June 2016 by Gaylor
                 Electric, Inc. and by Quandel Construction Group, Inc. seeking to
                 sue the Receiver for breach of fiduciary duties and other relief.5

The Order also stated:

                 After the items listed in paragraph 1 above have been filed, the
                 Court will decide whether an evidentiary hearing on the Motions is
                 necessary, and if so, the Court will enter an order scheduling such
                 evidentiary hearing. If the Court decides that an evidentiary hearing
                 is not necessary, the Court will decide the Motions without holding
                 an evidentiary hearing, by filing a written opinion/order.6

       Canyon filed the documents required by the Court's September 14 Order.7


       5
           Docket # 96 at ¶ 1.
       6
           Id. at ¶ 2.
       7
           Docket # 103, 109. The documents Canyon filed at Docket # 103 from the state court case
were as follows:

                 Exhibit 1 –     Docket Sheet from State Court

                 Exhibit 2 –     Transcript of November 17, 2016 State Court hearing re:

                                 (1)    Defendant’s Emergency Motion for Stay Pending Appeal;

                                 (2)    Defendant’s Emergency Motion to Direct Receiver to Resume
                                        Use of C.E. Gleeson Contractor and/or Enter Order Returning
                                        Control of Project to Defendant;

                                 (3)    Receiver’s Motion for Entry of Order Approving Receivership
                                        Loan Documents;

                                 (4)    Receiver’s Motion to Approve Budget.

                 Exhibit 3 –     Transcript of December 15, 2016 State Court hearing re:

                                                   11


 17-52483-tjt        Doc 144     Filed 10/13/17     Entered 10/13/17 17:03:44         Page 11 of 25
                               (1)     Defendant’s Motion to Direct Receiver or
                                       Plaintiff

                Exhibit 4 –    Transcript of January 19, 2017 State Court hearing re:

                               (1)     Defendant’s Objection to Receiver’s Draw Request

                Exhibit 5 –    Transcript of March 16, 2017 State Court hearing re:

                               (1)     Defendant’s Objections to Receiver
                                       Reports

                               (2)     Receiver’s Motion to Approve
                                       Supplemental Budget

                Exhibit 6 –    Transcript of April 13, 2017 State Court hearing re:

                               (1)     Canyon’s Motion for Protective Order

                Exhibit 7 –    Transcript of June 22, 2017 State Court hearing re:

                               (1)     Gaylord’s Motion for Leave to File Third-Party
                                       Complaint Against Receiver;

                               (2)     Gaylord’s Motion to Amend Receivership
                                       Order;

                               (3)     Gaylord’s Objections to Receiver Reports;

                               (4)     Quandel’s Objections to Receiver Reports;

                               (5)     Quandel’s Motion for Relief from Receivership
                                       Order;

                               (6)     Concurrences filed by Amthor Steel and
                                       Zeeland Lumber.

                Exhibit 8 –    Transcript of August 17, 2017 State Court hearing re:

                               (1) D&V Excavation’s Motion for Summary
                               Disposition Regarding Defendant’s Cross-Claim
                               Against D&V.

The documents Canyon filed at Docket # 109 regarding the state court action were as follows:

                Exhibit 1 –    Gaylor Electric Inc.’s Motion for Leave to File

                                                  12


 17-52483-tjt     Doc 144      Filed 10/13/17      Entered 10/13/17 17:03:44            Page 12 of 25
V. Discussion

A. The relief requested in the Motions

       In the Turnover Motion, the Debtor asks the Court to order the Receiver McKinley to

immediately comply with §§ 543(b)(1) and (b)(2) of the Bankruptcy Code, by turning over and

accounting for all of the Debtor’s property now in McKinley’s possession, custody, or control.

       In Canyon’s Cross-Motion, Canyon, relying on § 543(d)(1) of the Bankruptcy Code, asks


                              Third-Party Complaint Against Receiver and To Amend
                              Order Appointing Receiver;

                Exhibit 2 –   Gaylor Electric Inc.’s Objection to Packard Square
                              Monthly Receiver Report Dated May 22, 2017, and
                              Supplemental Brief in Support of Motion to Amend
                              Receivership Order and/or File a Third-Party Complaint
                              Against the Receiver;

                Exhibit 3 –   Quandel Construction Group Inc.’s Motion for Partial
                              Relief From Order Appointing Receiver and Order
                              Approving Receivership Loan Documents;

                Exhibit 4 –   Amthor Steel’s Concurrence to Gaylor Electric Inc.’s
                              Motion for Leave to File Third-Party Complaint Against
                              Receiver and To Amend the Order Appointing Receiver;

                Exhibit 5 –   Zeeland Lumber and Supply Co.’s Concurrence with
                              Objections and Motions Regarding Receiver Conduct;

                Exhibit 6 –   Gaylor Electric Inc.’s Objection to Packard Square
                              Monthly Receiver Report Dated April 21, 2017;

                Exhibit 7 –   June 22, 2017 Order Denying Gaylor Electric Inc.’s
                              Motion to Amend Receivership Order and/or File a
                              Third-Party Complaint Against the Receiver and
                              Granting Costs in Favor of Receiver;

                Exhibit 8 –   June 23, 2017 Order Denying Quandel’s Motion for
                              Partial Relief From Order Appointing Receiver and
                              Order Approving Receivership Loan Documents; [and]

                Exhibit 9 –   June 22, 2017 Order Denying Objections to Receiver
                              Reports.

                                                13


 17-52483-tjt     Doc 144     Filed 10/13/17     Entered 10/13/17 17:03:44           Page 13 of 25
the Court to excuse McKinley from complying with the normal turnover and accounting

obligations under §§ 543(b)(1) and (b)(2). Canyon’s Cross-Motion also asks the Court to

“suspend” this bankruptcy case under §§ 305(a)(1) and 105(a) of the Bankruptcy Code, and to

allow McKinley “to continue to act under the continued supervision of the [s]tate [c]ourt, so as to

avoid the unnecessary expense and delay which will otherwise be generated by the bankruptcy

proceedings and to avoid any future confusion as [to] which court’s supervision the Receiver will

act under.”8

B. Applicable provisions of the Bankruptcy Code

1. Section 543

       Section 543 of the Bankruptcy Code states:

                (a) A custodian with knowledge of the commencement of a case
                under this title concerning the debtor may not make any
                disbursement from, or take any action in the administration of,
                property of the debtor, proceeds, product, offspring, rents, or
                profits of such property, or property of the estate, in the possession,
                custody, or control of such custodian, except such action as is
                necessary to preserve such property.

                (b) A custodian shall--

                        (1) deliver to the trustee any property of the debtor
                        held by or transferred to such custodian, or
                        proceeds, product, offspring, rents, or profits of
                        such property, that is in such custodian’s
                        possession, custody, or control on the date that such
                        custodian acquires knowledge of the
                        commencement of the case; and

                        (2) file an accounting of any property of the debtor,
                        or proceeds, product, offspring, rents, or profits of
                        such property, that, at any time, came into the


       8
           Docket # 28 at 17.

                                                  14


 17-52483-tjt      Doc 144      Filed 10/13/17     Entered 10/13/17 17:03:44         Page 14 of 25
                       possession, custody, or control of such custodian.

                (c) The court, after notice and a hearing, shall--

                       (1) protect all entities to which a custodian has
                       become obligated with respect to such property or
                       proceeds, product, offspring, rents, or profits of
                       such property;

                       (2) provide for the payment of reasonable
                       compensation for services rendered and costs and
                       expenses incurred by such custodian; and

                       (3) surcharge such custodian, other than an assignee
                       for the benefit of the debtor’s creditors that was
                       appointed or took possession more than 120 days
                       before the date of the filing of the petition, for any
                       improper or excessive disbursement, other than a
                       disbursement that has been made in accordance with
                       applicable law or that has been approved, after
                       notice and a hearing, by a court of competent
                       jurisdiction before the commencement of the case
                       under this title.

                (d) After notice and hearing, the bankruptcy court–

                       (1) may excuse compliance with subsection (a), (b),
                       or (c) of this section if the interests of creditors and,
                       if the debtor is not insolvent, of equity security
                       holders would be better served by permitting a
                       custodian to continue in possession, custody, or
                       control of such property, and

                       (2) shall excuse compliance with subsections (a)
                       and (b)(1) of this section if the custodian is an
                       assignee for the benefit of the debtor’s creditors that
                       was appointed or took possession more than 120
                       days before the date of the filing of the petition,
                       unless compliance with such subsections is
                       necessary to prevent fraud or injustice.

11 U.S.C. § 543.

       The obligation of a custodian to turn over property of the debtor to the “trustee,” upon

                                                  15


 17-52483-tjt      Doc 144     Filed 10/13/17      Entered 10/13/17 17:03:44       Page 15 of 25
learning of the commencement of a bankruptcy case by the debtor, also requires a custodian to

turn over such property to a debtor-in-possession in a Chapter 11 case, where a trustee has not

been appointed. See 11 U.S.C. § 1107(a). And the parties agree that a state court receiver is a

“custodian” within the meaning of 11 U.S.C. § 543. See 11 U.S.C. § 101(11)(A) (“The term

‘custodian’ means . . . receiver or trustee of any of the property of the debtor, appointed in a case

or proceeding not under this title[.]”); In re Franklin, 476 B.R. 545, 551 (Bankr. N.D. Ill. 2012);

In re Falconridge, LLC, No. 07-bk-19200, 2007 WL 3332769, at *6 (Bankr. N.D. Ill. Nov. 8,

2007). Therefore, the Receiver McKinley is a custodian under, and subject to, § 543.

        The bankruptcy court has discretion under § 543(d)(1) to excuse a state court receiver

from its mandatory turnover obligation under § 543(b)(1). See In re Picacho Hills Util. Co., Inc.,

No. 11-13-10742 TL, 2013 WL 1788298, at *7 (Bankr. D.N.M. Apr. 26, 2013); In re Corporate

& Leisure Event Prods., Inc., 351 B.R. 724, 732 (Bankr. D. Ariz. 2006). A party seeking such

relief has the burden of establishing “by a preponderance of the evidence that the best interests of

the creditors [and if the debtor is insolvent, the best interest of equity security holders of the

Debtor] are served by permitting a custodian to retain control of the estate.” In re Picacho Hills

Util. Co., Inc., No. 11-13-10742 TL, 2013 WL 1788298, at *7 (Bankr. D.N.M. April 26, 2013)

(citing Franklin, 476 B.R. at 551).

        In determining whether this burden has been satisfied, courts consider several factors,

depending on the facts of a particular case, including:

                (1) The likelihood of a reorganization;

                (2) The probability that funds required for reorganization will be
                available;

                (3) Whether there are instances of mismanagement by the debtor;

                                                  16


 17-52483-tjt     Doc 144      Filed 10/13/17      Entered 10/13/17 17:03:44          Page 16 of 25
                (4) Whether turnover would be injurious to creditors;

                (5) Whether the debtor will use the turned over property for the
                benefit of its creditors;

                (6) Whether or not there are avoidance issues raised with respect to
                property retained by a receiver, because a receiver does not possess
                avoiding powers for the benefit of the estate; and

                (7) The fact that the bankruptcy automatic stay has deactivated the
                state court receivership action.

                Regardless of what factors are used to aid the court in its decision,
                the paramount and sole concern is the interests of all creditors[,
                and if the debtor is solvent, the interests of equity security holders].

Falconridge, 2007 WL 3332769, at *7 (citations omitted).

       “Reorganization policy generally favors turnover of business assets to the debtor in a

[C]hapter 11 case.” In re Orchards Vill. Invs., LLC., 405 B.R. 341, 352 (Bankr. D. Or. 2009)

(citation omitted). But in cases where the custodian is a receiver who was appointed by a state

court pre-petition, bankruptcy courts have considered the length of the time that the receiver has

acted under a receivership order, and what, if anything, the receiver has done, and the impact of

these considerations on the other relevant factors. Where there is evidence before the bankruptcy

court, establishing that the interests of creditors would be better served by allowing the state

court receiver to remain in possession and control of property of the bankruptcy estate,

bankruptcy courts have denied turnover motions by the debtor and granted motions to excuse

turnover. See, e.g., Orchards Vill. Invs., 405 B.R. at 353 (excusing a state court receiver from

turnover of assets to the debtor under § 543(d)(1), after applying three relevant factors, where

receivership had been in place for approximately six months before the debtor filed for relief

under Chapter 11 and had improved substantially the conditions which caused the court to

                                                  17


 17-52483-tjt     Doc 144      Filed 10/13/17      Entered 10/13/17 17:03:44          Page 17 of 25
appoint the receiver).

2. Section 305(a)(1)

        Section 305(a)(1) of the Bankruptcy Code is an abstention provision. It states, in relevant

part:

                (a) The court, after notice and a hearing, may dismiss a case under
                this title, or may suspend all proceedings in a case under this title,
                at any time if–

                         (1) the interests of creditors and the debtor would be better
                         served by such dismissal or suspension[.]

11 U.S.C. § 305(a)(1). “The decision to dismiss under § 305 is discretionary, and must be made

on a case-by-case basis.” In re O’Neil Vill. Pers. Care Corp., 88 B.R. 76, 79 (Bankr. W.D. Pa.

1988) (citations omitted); see also In re Corporate & Leisure Event Prods., Inc., 351 B.R. 724,

732-33 (Bankr. D. Ariz. 2006) (“[A]lthough the existence of bankruptcy jurisdiction may be

undeniable, bankruptcy courts nevertheless have discretion to abstain or suspend proceedings if

‘the interests of creditors and the debtor would be better served.’ Code § 305(a)(1).”).

                The pendency of state law liquidation proceedings . . . is relevant to
                an abstention decision under section 305(a)(1). For instance . . .
                when the debtor has been in receivership for so long that the
                bankruptcy case would be duplicative and wasteful, courts have
                deferred to state courts and abstained under section 305(a)(1).

2 Collier on Bankruptcy ¶ 305.02[2][c], at 305-8 to 305-09 (Alan N. Resnick & Henry J.

Sommer, eds., 16th ed. 2017) (footnotes omitted); see also In re Newport Offshore Ltd., 219 B.R.

341, 354-55 (Bankr. D.R.I. 1998) (citing 11 U.S.C. § 305 and Collier at ¶ 305.02[2][c] (15th ed.

Rev.1997) (“[Section] 305 provides that a bankruptcy court may dismiss a bankruptcy case or

suspend proceedings within it in appropriate circumstances, which may include the pendency of

state court receivership proceedings that appropriately serve the interests of involved parties.”)

                                                   18


 17-52483-tjt     Doc 144       Filed 10/13/17     Entered 10/13/17 17:03:44         Page 18 of 25
       In In re Orchards Vill. Invs., 405 B.R. at 351, the bankruptcy court listed the following

factors that bankruptcy courts should consider in deciding whether to dismiss or abstain a case

under § 305(a):

                Such factors generally include: (1) economy and efficiency of
                administration; (2) whether another forum is available to protect
                the interests of both parties or there is already a pending
                proceeding in a state court; (3) whether federal proceedings are
                necessary to reach a just and equitable solution; (4) whether there
                is an alternative means of achieving the equitable distribution of
                assets; (5) whether the debtor and the creditors are able to work out
                a less expensive out-of-court arrangement which better serves all
                interests in the case; (6) whether a non-federal insolvency has
                proceeded so far in those proceedings that it would be costly and
                time consuming to start afresh with the federal bankruptcy process;
                and (7) the purpose for which bankruptcy jurisdiction has been
                sought.

Id. (citation omitted). “However, ultimately, dismissal is appropriate under § 305(a)(1) only in

the situation where the court finds that both creditors and the debtor would be better served by a

dismissal.” Id. (internal quotation marks and citations omitted).

       As with § 543(d)(1),9 where the custodian is a receiver appointed by a state court, courts

have considered the length of the time that the receiver has acted under a receivership order, what

the receiver has done, and the impact of these considerations on the other relevant factors. See,

e.g., In re Starlite Houseboats, Inc., 426 B.R. 375, 389 (Bankr. D. Kan. 2010) (dismissing the

bankruptcy case under § 305(a)(1) where a “state court receivership had been pending for




       9
          “The exception available under section 543(d)(1) is a modified abstention provision, akin to
the abstention provisions found in section 305 of the Code. Comment to 11 U.S.C. § 543; [In re]
Constable Plaza Associates, 125 B.R. [93,] 103 [(Bankr. S.D.N.Y. 1991)].” In re Dill, 163 B.R. 221, 225
(E.D.N.Y. 1994).



                                                  19


 17-52483-tjt     Doc 144      Filed 10/13/17     Entered 10/13/17 17:03:44          Page 19 of 25
approximately eight months when [the bankruptcy] case was filed,” the court finding that “the

interests of creditors and the [d]ebtor would be served by dismissal of the case” because

“continuation of the state court receivership proceeding, which [was] well underway, [was]

preferable to starting anew in [the bankruptcy] court”); In re Michael S. Starbuck, Inc., 14 B.R.

134, 135 (Bankr. S.D.N.Y. 1981) (dismissing involuntary Chapter 11 case under § 305(a)(1)

where a receivership had been operating for approximately 14 months, noting that: “[i]n

evaluating the best interests of the creditors and the debtor, efficiency and economy of

administration are primary considerations;” [o]ver 1,400 hours and $4,500 have already been

expended by the receiver and counsel in the administration of the estate;” “[a]llowing this matter

to continue as a debtor proceeding under the Bankruptcy Code would result in a terrible waste of

time and resources;” “[m]any services, already rendered in the administration of the receivership

estate, would have to be repeated at additional expense to the estate;” and “[n]o advantage would

accrue to the creditors if this matter were to proceed in the bankruptcy court”).

C. Application of relevant factors under 11 U.S.C. §§ 543(d)(1) and 305(a)(1)

       Under the circumstances of this case, the Court concludes that an evidentiary hearing on

the Turnover Motion and Canyon’s Cross-Motion is not necessary. The Court finds and

concludes that the interests of creditors and equity security holders would be better served by

excusing the Receiver McKinley from complying with the turnover and accounting obligations

under §§ 543(b)(1) and 543(b)(2) of the Bankruptcy Code, and by dismissing (rather than

suspending) this bankruptcy case under Bankruptcy Code § 305(a)(1).

       As an initial matter, the Court notes that it does not need to decide whether or not the

Debtor is solvent. The Debtor argues that it is solvent, so that under § 543(d)(1), the Court must


                                                 20


 17-52483-tjt     Doc 144     Filed 10/13/17     Entered 10/13/17 17:03:44          Page 20 of 25
consider not only the interests of creditors, but also the interests of the equity security holders of

the Debtor, in deciding these motions. Canyon argues that the Debtor is insolvent, so that the

Court may only consider the interests of creditors, and not the interests of the equity security

holders, in deciding whether to excuse McKinley from complying with its turnover obligation.

For purposes of this opinion, the Court will assume that the Debtor is solvent, so that the Court

must consider both the interests of the creditors and the equity security holders of the Debtor in

its analysis under § 543(d)(1). This assumption does not change the outcome, because as it turns

out, the interests of the creditors and the interests of the equity security holder(s) are aligned in

this case, for purposes of § 543(d)(1). The interests of both will be better served by excusing

turnover.

        The Court has considered all of the arguments of the parties, and all of the §§ 543(d)(1)

and 305(a)(1) factors identified in Parts V.B.1 and V.B.2 of this opinion. But the most important

factor in this case, which overwhelms all other factors, is that the Court has denied the Debtor’s

DIP Financing Motion.

        The Debtor and Canyon agree, and no other party disputes, that it is in the best interests

of the Debtor, the Debtor’s equity holder(s), and the creditors, that the Debtor’s construction

Project and development in Ann Arbor be completed and stabilized (fully rented out, essentially),

all as soon as possible, and all as cost-efficiently as possible. And all agree that time is of the

essence with this Project.

        These objectives cannot possibly be achieved if the Court displaces the state court

Receiver by granting the Debtor’s Turnover Motion. The Debtor has no funds available that it

can use to do any work toward completing the construction of the Project. The Court has just


                                                  21


 17-52483-tjt     Doc 144      Filed 10/13/17      Entered 10/13/17 17:03:44          Page 21 of 25
denied Debtor’s DIP Financing Motion. It is undisputed that without post-petition financing, the

Debtor has no money with which to perform any work on the Project or to fund its Chapter 11

bankruptcy case. As explained in more detail in the Court’s separate opinion filed today

regarding the Debtor’s DIP Financing Motion, the Debtor says that it needs to borrow roughly

$11.9 million to complete the Project and a total of $22 million to complete and stabilize the

Project and fund its bankruptcy case. (Canyon says the $11.9 million figure is much too low.)

And the Debtor says that it cannot obtain post-petition financing other than on the terms it has

proposed, and in particular, without giving its DIP lender a lien that primes (takes priority over)

all other liens. Yet this Court has found that the Debtor cannot obtain such financing, because

with such a priming lien there is a lack of adequate protection of the existing lien holders’

interests.

        All of this compels the conclusion that the Debtor has no ability to complete the Project,

let alone complete and stabilize the Project. That leaves the existing state court receivership as

the only viable option for completing and stabilizing the Project. It is clear and not genuinely

disputed that if the Receiver is permitted to continue the efforts it was making when the Debtor

filed this bankruptcy case, the Receiver will be able to obtain the financing necessary to complete

and stabilize the Project, through the existing and proposed amended Receivership loan from

Canyon.

        Under these circumstances, the only viable choice is for this Court to allow the state court

Receiver to continue to perform and control the construction, completion, and ultimate

stabilization of the Project, under the supervision and control of the state court. That, in turn,

requires this Court to deny the Debtor’s Turnover Motion, and to grant Canyon’s Cross-Motion.


                                                 22


 17-52483-tjt     Doc 144      Filed 10/13/17     Entered 10/13/17 17:03:44         Page 22 of 25
        Not only is this decision compelled by the circumstances, but also, it will avoid what

appear to be delays and inefficiencies that inevitably would result if the Debtor were permitted to

displace the Receiver and regain control of the Project. If the Debtor regained control, that

would amount, in effect, to changing horses in mid-stream, for a third time. The first time was

when the Debtor fired its general contractor, Quandel, on October 17, 2016, and began to replace

Quandel with the Debtor’s new general contractor, C.E. Gleeson Constructors, Inc. The second

time was when the state court appointed the Receiver, on November 1, 2016, after which the

Receiver chose to use a new general contractor, O’Brien Construction Company, Inc. If the

Debtor had its way, now would be a third time — after the Receiver has been working

extensively with O’Brien for more than 10 months (and O’Brien put together a new slate of

subcontractors), the Debtor filed this bankruptcy case seeking to regain control and put Gleeson

back in place of O’Brien as general contractor (and to try to line up once again the Debtor’s old

slate of subcontractors.)

        In reaching its decision, this Court is mindful of the long list of complaints made by the

Debtor and some of the construction lien claimants (especially Quandel and Gaylor), both in the

state court to a large extent, and now in this Court, about the state court’s appointment of the

Receiver; about the original Receivership Loan; about the Receiver’s borrowing and

disbursements under that loan; about actions and alleged inactions by the Receiver and O’Brien;

and more recently, about the efforts by the Receiver to increase and amend the terms of the

Receivership Loan. These many complaints have been and are very much disputed by Canyon

and also by the Receiver, and some of these complaints were already heard, considered, and

rejected by the state court.


                                                 23


 17-52483-tjt     Doc 144      Filed 10/13/17    Entered 10/13/17 17:03:44         Page 23 of 25
        Under the circumstances, the state court in the receivership case is the appropriate and

available forum for the complaining parties to raise their complaints and seek relief. (And to the

extent they are suffer adverse rulings by the state trial court, aggrieved parties may seek relief in

the Michigan Court of Appeals). While the Debtor, Quandel, Gaylor, and perhaps some of the

other lien holders would rather escape from the state court to this Court, this Court is confident

that the state court is both legally able, and fully capable, to fairly hear and decide the merits of

the complaints. No party in this case has given this Court any valid reason to think otherwise.

        As several of the parties have pointed out, under Michigan law, the Receiver McKinley

has a fiduciary duty to all of the lien holders, not just Canyon, and to the Debtor. See, e.g., Mich.

Comp. Laws Ann. § 570.1122(2) (“Any receiver appointed under this section shall be deemed a

fiduciary for the benefit of all persons having or claiming interests in the real property, and shall

exercise his or her office accordingly.”) And the Receivership Order and Michigan law give the

state court extensive supervisory authority and control over the Receiver, to make sure he fully

complies with all of his duties. See, e.g., Mich. Comp. Laws Ann. §§ 570.1122, 570.1123;

600.2927; Mich. Ct. R. 2.622. The state court is the appropriate forum for the parties to carry on

their disputes.

        For these reasons, the Court finds and concludes that, in the words of Bankruptcy Code

§ 543(d)(1), “the interests of creditors and . . . of equity security holders would be better served

by permitting” the Receiver “to continue in possession, custody, [and] control of” the Debtor’s

property.

        And the Court finds and concludes that, in the words of Bankruptcy Code § 305(a)(1),

“the interests of creditors and the debtor would be better served by . . . dismissal” of this


                                                  24


 17-52483-tjt     Doc 144      Filed 10/13/17      Entered 10/13/17 17:03:44         Page 24 of 25
bankruptcy case. Given the Court’s decisions today on the competing § 543 motions, and on the

Debtor’s DIP Financing Motion, this bankruptcy case essentially has nowhere to go. This Court

is abstaining, in favor of the state court receivership action. So this case should be suspended or

dismissed. As between these two options available under § 305(a)(1), the Court agrees with the

suggestion of counsel for the United States Trustee that merely suspending this bankruptcy case,

as opposed to dismissing it, would not be workable, and would not serve any useful purpose. A

dismissal will avoid any needless confusion or doubt about the ability of the Receiver and the

state court in the receivership case to carry on, as if no bankruptcy had been filed.

       So the Court will dismiss this case. And in order to prevent any attempted evasion by

anyone of the Court’s decisions today, the Court will bar the filing of any new bankruptcy case,

by or against the Debtor, for a period of two years. This should give ample time for the Receiver

to finish completion and stabilization of the Project, and for the state court receivership case to

substantially conclude. Imposing this bar to a new bankruptcy filing is within the Court’s

discretion and authority, under 11 U.S.C. § 105(a), and also under 11 U.S.C. § 349(a).

VI. Conclusion

       For the reasons stated in this opinion, the Court will enter an order denying the Debtor’s

Turnover Motion, granting Canyon’s Cross-Motion, and dismissing this bankruptcy case. And

the Order will bar the filing of any new bankruptcy case by or against the Debtor for two years.



Signed on October 13, 2017




                                                 25


 17-52483-tjt     Doc 144     Filed 10/13/17      Entered 10/13/17 17:03:44         Page 25 of 25
